Case 1:18-cv-00411-CWD Document 41

Jason R.N. Monteleone, ISB#: 5441
Bruce S. Bistline, ISB#: 1988
JOHNSON & MONTELEONE, L.L.P.
350 N. 9" St., ste. 500

Boise, Idaho 83702

Telephone: (208) 331-2100

Facsimile: (208) 947-2424
jason@treasurevalleylawyers.com
bruce@treasurevalleylawyers.com

Attorney for Plaintiff

Filed 11/25/19 Page 1of13

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

 

DAVID M. GRANT
Plaintiff,

Vv.

CITY OF FRUITLAND, a political
subdivision of the State of Idaho,
FRUITLAND CITY POLICE
DEPARTMENT, a department of the City
of Fruitland, BENJAMIN KEY, in his
individual and official capacity, J.D.
HUFF, in his individual and official
capacity, CITY OF PAYETTE, a political
subdivision of the State of Idaho,
PAYETTE POLICE DEPARTMENT, a
department of the City of Payette, BEN
BRANHAM, in his individual and official
capacity, DUANE HIGLEY, in his
individual and official capacity, MARK
CLARK, in his individual and official
capacity, JOHN or JANE DOE #1-10
Employees of the City of Fruitland, the
City of Payette, Payette County or Payette
County as a political subdivision of the
State of Idaho

Defendant.

 

Case No. 1:18-CV-00411-BLW

CERTIFICATE OF SERVICE OF
STATEMENT OF DEATH, MOTION
FOR SUBSTITUTION OF
PLAINTIFFS AND NOTICE OF
HEARING ON MOTION FOR
SUBSTITUTION OF PLAINTIFFS

 

CERTIFICATE OF SERVICE OF STATEMENT OF DEATH, MOTION FOR SUBSTITUTION
OF PLAINTIFFS AND NOTICE OF HEARING ON MOTION FOR SUBSTITUTION OF

PLAINTIFFS

- 1
Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 2 of 13

COMES NOW the undersigned and certifies to the Court that the Statement of Death, a
Motion for Substitution of Plaintiffs, a Memorandum in Support of Motion for Substitution
of Plaintiffs, and an Affidavit of Bruce S. Bistline in Support of Motion for Substitution of
Plaintiffs, all filed herein, have been duly served upon all Parties, in accordance with
F.R.C.P. Rule 5, and in accordance with F.R.C.P. Rule 4 (as demonstrated by the Waivers
of Service filed herewith), upon all heirs as identified in the Application for Appointment
of Personal Representative filed in the Magistrate Division of the District Court in the First
Judicial District of the State of Idaho, in an for Kootenai County Idaho, by Sandra Grant,
the mother of David M. Grant, as attached hereto..
95e
Respectfully submitted this day of November, 2019.

JOHNSON & MONTELEONE, L.L.P.

. A YOu S Bu

Bruce S. Bistline
Attorneys for Plaintiff

 

CERTIFICATE OF SERVICE OF STATEMENT OF DEATH, MOTION FOR SUBSTITUTION
OF PLAINTIFFS AND NOTICE OF HEARING ON MOTION FOR SUBSTITUTION OF
PLAINTIFFS -2
Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 3 of 13

CERTIFICATE OF MAILING, DELIVERY, OR FACSIMILE TRANSMISSION
nc
I CERTIFY that on November LS , 2019, I caused a true and correct copy of the

foregoing document to be:

 

QC) Mailed

CL) Hand Delivered

UO) CM/ECF Electronic Filing

Q) iCourt E-File

Q) Transmitted Fax Machine
to:

Transmitted Via E-Mail
to: mje@melawfirm.net

steve(@melawfirm.net

marisa@melawfirm.net

Michael J. Elia, Esq.

Steven R. Kraft, Esq.

Marisa S. Crecelius, Esq.

MOORE ELIA KRAFT & HALL, L.L.P.
P. O. Box 6756

Boise, ID 83707

As Attorneys for:

CITY OF FRUITLAND, FRUITLAND CITY
POLICE DEPARTMENT, BENJAMIN KEY,
J.D. HUFF,

 

QC) Mailed

L) Hand Delivered

QO) CM/ECF Electronic Filing

Q) iCourt E-File

C) Transmitted Fax Machine
to:

Transmitted Via E-Mail

to: mkane@ktlaw.net

Michael J. Kane, Esq.

MICHAEL KANE & ASSOCIATES, P.L.L.C.
4355 West Emerald Street, Ste. 190

P. O. box 2865

Boise, ID 83701-2865

As Attorneys for

CITY OF PAYETTE, PAYETTE POLICE
DEPARTMENT. BEN BRANHAM, DUANE
HIGLEY, MARK CLARK,

 

Mailed subject to an agreement to
sign and return waiver of personal
service.

Transmitted Via E-Mail

to: sandyg64(@frontier.com

Sandra Grant (mother and Personal
Representative of the Estate of David M. Grant)
P.O. Box, 124,

Harrison Idaho,83833

 

[xIMailed subject to an agreement to sign
and return waiver of personal service
Transmitted Via E-Mail c/o Sandra
Grant

to: sandyg64(@frontier.com

 

 

David T. Grant.(father)
P.O. Box, 124,
Harrison Idaho,83833

 

CERTIFICATE OF SERVICE OF STATEMENT OF DEATH, MOTION FOR SUBSTITUTION
OF PLAINTIFFS AND NOTICE OF HEARING ON MOTION FOR SUBSTITUTION OF

PLAINTIFFS

- 3

 
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 4 of 13

 

Mailed subject to an agreement to
sign and return waiver of personal service
Transmitted Via E-Mail

to: Jeffreyg4205@gmail.com

Jeffrey Grant (only male sibling)
4205 Bonanza Circle,
Winnemucca, Nevada, 89445

 

Mailed subject to an agreement to
sign and return waiver of personal service
Transmitted Via E-Mail

to: kristalm30@aol.com

Kristal Moore (only female sibling)
56659 S. Hwy. 97,
St. Maries Idaho, 83861

 

Mailed subject to an agreement to
sign and return waiver of personal service
Transmitted Via E-Mail c/o Sandra
Grant

to: Kelseyy.nicole94@gmail.com

 

Kelsey Grant (only child)
1521 N. 9th Street,
Coeur d’”Alene, Idaho, 83814

 

JOHNSON & MONTELEONE, L.L.P.

Bruce S. Bistline
Attorneys for David M. Grant

CERTIFICATE OF SERVICE OF STATEMENT OF DEATH, MOTION FOR SUBSTITUTION

OF PLAINTIFFS AND NOTICE OF HEARING ON MOTION FOR SUBSTITUTION OF

PLAINTIFFS

-4

 
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 5of13

Electronically Filed

10/10/2019 3:31 PM

First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Elizabeth Floden, Deputy. Clerk

Jason R.N. Monteleone Mcealvey
JOHNSON & MONTELEONE, L.L.P, ne

350 N. Ninth Street, Ste. 500 CCF 6g 2049
Boise, Idaho 83702

Telephone: (208) 331-2100
Facsimile: (208) 947.2424
Jason@treasurevalleylawyers. com
Idaho State Bar No, 5441

Attormeys for Applicant

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE
STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI

 

 

-- MAGISTRATES?’ DIVISION --
IN THE MATTER OF THE ) CV28-19-7273
ESTATE OF DAVID M. GRANT) CASE NO, sca:
DAVID M. GRANT, ) APPLICATION FOR APPOINTMENT
) OF PERSONAL REPRESENTATIVE
Deceased )
)

Sandra Grant (“Applicant”), through her counsel of record, Jason R.N. Monteleone of
Johnson & Monteleone, L.L.P., states and represents to this Court as follows:

1, Applicant’s interest in this matter is that Sandra Grant is the natural mother of David M.
Grant (or “Decedent”), who died on August 24, 2019, at Caldwell, Idaho, at the age of forty-nine
(49) years.

2. Applicant has retained counsel to represent herself and her immediate family in a
wrongful death case regarding decedent, Applicant is interested in pursuing the wrongful death case
regarding of David M. Grant, deceased son.

3. Venue is proper in this Court, because there is property of David M. Grant in the state of

Idaho,

APPLICATION FOR APPOINTMENT OF PERSONAL REPRESENTATIVE — 1

Eckhart, Anna M
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 6 of 13

4, The sole heirs of Decedent on the date of death are his father, David T. Grant, Jeffrey
Grant, brother, Kristal Moore, sister, daughter, Kelsey Grant, and Applicant and mother, Sandra
Grant, whom resides in Harrison, Idaho.

5. To Applicant’s knowledge, no personal representative has yet been appointed, no probate
proceeding has yet been filed, and she is unaware of any unrevoked, testamentary instrument relating
to the property of the decedent located in Idaho.

6. Applicant has not received nor is aware of any demand for notice of any probate or
appointment proceedings concerning Decedent filed in this county, state, or anywhere else.

7. The time limit for appointment of Applicant has a personal representative has not expired,
as it has not been three years since Decedent’s death, which death occurred on August 24, 2019.

8. Applicant is entitled to serve as a personal representative inasmuch, as she is an heir of
Decedent’s estate pursuant to I. C. §15-3-203(a)(5).

9. As the purpose of this petition is for appointment ofa personal representative for purposes
of pursuing her son’s wrongful death claim, no bond should be required of said personal
representative.

10. The present mailing address of Applicant is: P. O, Box 124, Harrison, Idaho 83833.

WHEREFORE, Applicant prays, applies, and requests as follows:

1. That Sandra Grant, the surviving natural mother and heir of Decedent, be appointed as
personal representative of Decedent’s estate for purposes of pursuing a wrongful death case on

Decedent’s behalf.

APPLICATION FOR APPOINTMENT OF PERSONAL REPRESENTATIVE -- 2
Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 7 of 13

DATED this 7 _/ _ dayof , 2019,

a eo

Sandra Grant, Applicant

APPLICATION FOR APPOINTMENT OF PERSONAL REPRESENTATIVE -- 3
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 8 of 13

STATE OF IDAHO)

)ss
County of Kootenai)

On this 2 day of _OQectober __, 2019, before me, a notary public for Idaho,
personally appeared Sandra Grant, personally known to me or proved to me on the basis of
satisfactory evidence to be the person whose name is subscribed to the within instrument, and
acknowledged to me that she executed the same and that the statements herein are true and accurate.

on ity, OQdwit Vertes

 

 

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APPLICATION FOR APPOINTMENT OF PERSONAL REPRESENTATIVE -- 4
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 9 of 13

UNITED STATES DISTRICT COURT NOY 20 9¢
DISTRICT OF IDAHO mye LONG
Waiver of Service of: Statement of Death, Motion for Substitution of

Plaintiffs Memorandum in Support of Motion to
Substitution of Plaintiffs and an Affidavit of Bruce S.
Bistline in Support of Motion to Substitution of
Plaintiffs

TO: Jason Monteleone;

T acknowledge receipt of your request that I waive service of a Statement of Death, a Motion for
Substitution of Plaintiffs, a Memorandum in Support of Motion to Substitution of Plaintiffs and
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Bruce 8. Bistline in Support of Motion to Substitution of Plaintiffs filed in the action, two copies
of this instrument, and a means by which I can return the signed waiver to you without a cost to
me.

I agree to save the cost of service of these documents by not requiring that I (or the entity on
whose behalf I am acting) be personally served with these documents in the manner provided by
Rule 4.

I (or the entity on whose behalf I am acting) will retain all rights, defenses or objections to the
Motions for Substitution of Plaintiffs or other objections, rights or defenses I may have except
for objections based on a defect in the service of these documents. I understand that the Court
will determine whether there will be a hearing and establish the location, date and time for that
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(Date) Jeffrey © MC \

 
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 10 of 13

UNITED STATES DISTRICT COURT a
DISTRICT OF IDAHO Ww? £O2G10

Waiver of Service of: Statement of Death, Motion for Substitution of
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lie fg dard Spat

(Daté) Sandra Grant : Individually and as Personal
Representative Of the Estate of David M.
Grant:
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 11 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

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(14-19 Kok) Meera

(Date) Kristal Moore
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 12 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

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Ng Yoabrey Naik

(Date) Kelsey Grant
 

Case 1:18-cv-00411-CWD Document 41 Filed 11/25/19 Page 13 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

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(Date) David T. Grant V

ea
